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             THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF TEXAS
                      DALLAS DIVISION

UNITED STATES OF                       §
AMERICA                                §
                                       §
v.                                     §        NO. 3:21-cr-00054-N
                                       §
DANIEL REY SETTLE                      §


     MOTION TO SUPPRESS STATEMENT OF DANIEL SETTLE

TO THE HONORABLE UNITED STATES DISTRICT COURT
CHIEF JUDGE DAVID C. GODBEY:

COMES NOW, DANIEL REY SETTLE, Defendant in the above styled
and numbered cause and files this his Motion to Suppress the Statement of
Daniel Settle and would show the Court as follows:

                             I. BACKGROUND



On January 8, 2021, Dallas Police Department Officer Justin Hatch
obtained an arrest warrant for Daniel Settle for the offense of continuous
trafficking of person and compelling prostitution by force fraud threat or
coercion in violation of Texas state law in cause numbers F2175035 and
F2175036.


On January 14, 2021, Daniel Settle was arrested at his residence at 1567
Hancock, Mesquite, Texas. Also arrested at the residence for state offenses
are AV1 and Kapri Bailey. The residence is searched pursuant to a search
warrant. Daniel Settle is taken to the Dallas County jail.


On January 15, 2021, Daniel Settle is in custody at the Dallas County Jail
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and arraigned by the Dallas County Magistrate and advises the Court that
he is indigent and requests the appointment of an attorney to represent
him. See Ex. A
Bond is set at $100,000 each for the charges against Mr. Settle and no
restrictions are placed on his communication with anyone. On January 19,
2021, the Court appoints Valencia Bush to represent Mr. Settle. On
January 21, 2021, the Court appoints David Jordan to represent Daniel
Settle. Jordan’s representation is a matter of public record and Jordan
visits Settle on the January 22, 2021.


On January 20, 2021, a criminal complaint was filed against Daniel Settle
in this case and an arrest warrant was issued. See Ex B. After the criminal
complaint is filed in federal court and issuance of the warrant after the
appointment of counsel in State Court. Agent Kochan and Detective Dustin
Hatch go to the Dallas County Jail and have Mr. Settle brought to the Dallas
County Sherriff’s Office intelligence division for interrogation. There agents
advise him that the Dallas County case is dropped, and a federal complaint
has been filed against him 1.
On February 1, 2021, Daniel Settle was presented for arraignment before
United States Magistrate Judge Renee Toliver. At the arraignment, Judge
Toliver appoints Anthony Eiland to represent Mr. Settle.


                         II. MOTION TO SUPPRESS

Settle moves the Court to suppress his statement which was obtained in

violation of the 5th and 6th amendment and in violation of 18 USC § 3501

and Federal Rule of Criminal Procedure 5. Settle moves this Court to grant

an evidentiary hearing on his motion to suppress. Settle’s statement after
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his request for counsel was involuntary. Settle was not promptly taken

before the federal magistrate. Settle’s request for counsel was ignored. The

Dallas court’s appointment of counsel at Settle’s request was ignored.

Settle’s counsel was not notified that his client was going to be questioned.

Settle did not request to speak with investigators. Settle’s presentation

before the magistrate was unreasonably delayed for the purpose of

obtaining a statement from Settle.



                         III.     APPLICABLE LAWS



In Corley v. United States, 556 U.S. 303, 129 S. Ct. 1558, 173 L. Ed. 2d 443

(2009), the Supreme Court affirmed "that the plain purpose of the

requirement that prisoners should promptly be taken before committing

magistrates was to check resort by officers to secret interrogation of

persons accused of crime." Id. at 1563. Accordingly, confessions made

during periods of detention in violation of Rule 5 are inadmissible. In this

case, Daniel Settle made a request for counsel. Moreover, Federal Rule of

Criminal Procedure 5 and 18 USC§ 3501 provide that a person must be

promptly presented for a magistrate and that statements taken more than

six hours after arrest but before present to a magistrate are not voluntary.

The government has the burden of proving that statement was freely and

voluntarily given and it cannot do so.
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             WHEREFORE, PREMISES CONSIDERED, the Defendant prays that his

motion to suppress be in all things granted and that the court suppress any of the

Defendant’s statements and such other evidence acquired from the Defendant after his

arrest by a government agent.


                                         Respectfully submitted,


                                         /s/Russell Wilson II
                                         RUSSELL WILSON II
                                         Texas State Bar No. 00794870
                                         The Law Offices of Russell Wilson II
                                         1910 Pacific Ave. Suite 12050
                                         Dallas, Texas 75201
                                         469-573-0211
                                         972-704-2907 (FAX)
                                         russell@russellwilsonlaw.com
                                         Attorney for Defendant
                                         DANIEL REY SETTLE




                         CERTIFICATE OF SERVICE
      This is to certify that on September 25, 2023, a true and correct copy
of the above and foregoing document was served on all parties via ECF.


                                         /s/Russell Wilson II
                                         RUSSELL WILSON II
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AO 442 Rev 1111
                  Case 3:21-cr-00054-N Document 135 Filed 09/25/23
                           Arrest Warrant
                                                                         SEALED                             Page 12 of 13 PageID 830


                                                   UNITED STATES DISTRICT COURT                                                            defe
                                                                                   for the                                                   EXHIBIT
                                                                        Northern District of Texas

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                         United     States     of America

                                           V
                                                                                                 Case     No 3 21 TvU-5       I   BN
                           DANIEL REY SETTLE
                                   ak a POLO



                                       Defendant




                                                                      ARRIEST       WARRANT
To           Any authorized            law enforcement      officer




             YOU ARE COMNLANDED                          to arrest   and bring before a United   States   magistrate     judge without unnecessary delay

name ofperson       to   be arrested           Daniel   Rey Seftle    aka Polo
who is accused           of an offense or violation based             on the following   document    filed with    the court



0     indictment                   0    Superseding      Indictment         0 Information        0    Superseding       Information               5 Complaint
0     Probation     Violation Petition                  0   Supervised    Release Violation Petition          0 Violation Notice                  0   Order of the Court


This offense       is
                         briefly    described      as follows


     18   U SC          1591   a and b1             Sex Trafficking     Through   Force Fraud or Coercion




Date              0120 2021

                                                                                                                  Issuing officer's    signature




City and state                 DALLAS TEXAS                                                         DAVID   L HORAN           US Magistrate Judge
                                                                                                                    Printed name and      title




                                                                                  Return


             This warrant          was received      on date                               and the person was arrested on date

at   city   and state




Date
                                                                                                              Arresting    officer's    signature




                                                                                                                    Printed name and      title




                                                                                                                                                          GOV00000082
AO 442 Rev 1111
                  Case 3:21-cr-00054-N Document 135 Filed 09/25/23
                           Arrest Warrant
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                                                   UNITED STATES DISTRICT COURT
                                                                                   for the



                                                                        Northern District of Texas




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                                           V
                                                                                                 Case     No 3 21 TvU-5       I   BN
                           DANIEL REY SETTLE
                                   ak a POLO



                                       Defendant




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at   city   and state




Date
                                                                                                              Arresting    officer's    signature




                                                                                                                    Printed name and      title




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